8 F.3d 822
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Emmanuel ONYIDO, Defendant-Appellant.
    No. 93-6730.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 27, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Emmanuel Onyido, Appellant Pro Se.
      John Vincent Geise, Office of The United States Attorney, for Appellee.
      D.Md.
      AFFIRMED
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Onyido, Nos.  CR-89-46;  CA-93-1835 (D. Md. June 24, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    